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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §             Case No. 18-34658
                                                           §
HOU-TEX BUILDERS, LLC, et al., 1                           §             Chapter 11
                                                           §
                  DEBTORS.                                 §             Jointly Administered
                                                           §

                                      NOTICE OF RULE 2004
                                   EXAMINATION OF BOB PARKER

    TO: Bob Parker
        c/o Dick Fuqua
        5005 Riverway Drive
        Houston, TX 77056

         Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure and Local

Bankruptcy Rule 2004, HOUTEX Builders, LLC; 2203 Looscan, LLC; and 415 Shadywood, LLC

(collectively, the “Debtors”) intend to examine Bob Parker (“Parker”) on March 20, 2019 starting

at 1:00 p.m. (CT). The examination will take place at the offices of Fuqua & Associates, 5005

Riverway Drive, Houston, Texas 77056, unless otherwise agreed, and will continue from day to

day until completed. The examination will be taken before a court reporter authorized by law to

administer oaths and may be videotaped.



                                 [Remainder of Page Intentionally Left Blank]




1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).
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Dated: March 8, 2019                                Respectfully submitted,

                                                    DIAMOND McCARTHY LLP

                                                    /s/ Charles M. Rubio
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                                                    Counsel to Debtors and Debtors-In-Possession



                            CERTIFICATE OF CONFERENCE

        This is to certify that on March 7, 2019, I conferred with Dick Fuqua, counsel for Bob
Parker, who indicated that he agreed to the date and location of the examination.

                                                    /s/ Charles M. Rubio
                                                    Charles M. Rubio




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2019, a true and correct copy of the foregoing Notice of
Rule 2004 Examination of Bob Parker was served by electronic transmission to Dick Fuqua, counsel
to Bob Parker.


                                                    /s/ Charles M. Rubio
                                                    Charles M. Rubio
